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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

 WHOLE WOMAN’S HEALTH, et al.,              §
                                            §
                      Plaintiffs,           §
 v.                                         §             Cause No. 1:21-cv-00616-RP
                                            §
 AUSTIN REEVE JACKSON, et al.,              §
                                            §
                      Defendants.           §


                                NOTICE OF APPEAL


      PLEASE TAKE NOTICE that Defendants Penny Clarkston, in her official

capacity as Clerk of the District Court of Smith County, Texas; Hon. Austin Reeve

Jackson, in his official capacity as Judge of the 114th District Court in Smith County,

Texas; Stephen Brint Carlton, in his official capacity as Executive Director of the

Texas Medical Board; Katherine A. Thomas, in her official capacity as Executive

Director of the Texas Board of Nursing; Cecile Erwin Young, Executive Commissioner

of the Texas Health and Human Services Commission; Allison Vordenbaumen Benz,

in her official capacity as Executive Director of the Texas Board of Pharmacy; Ken

Paxton, in his official capacity as Attorney General of Texas; and Mark Lee Dickson,

hereby appeal to the United States Court of Appeals for the Fifth Circuit from the

Order issued August 25, 2021 (ECF No. 82), which denies Defendants’ motions to

dismiss for lack of jurisdiction under Fed. R. Civ. P. 12(b)(1).




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Dated this 25th Day of August, 2021.


                                  Respectfully submitted.

                                  /s/ Heather Gebelin Hacker
                                  HEATHER GEBELIN HACKER
                                  Texas Bar No. 24103325
                                  heather@hackerstephens.com
                                  ANDREW B. STEPHENS
                                  Texas Bar No. 24079396
                                  andrew@hackerstephens.com
                                  HACKER STEPHENS LLP
                                  108 Wild Basin Rd. South, Suite 250
                                  Austin, Texas 78746
                                  Tel: (512) 399-3022

                                  Attorneys for Defendant Penny Clarkston


                                  /s/ Jonathan F. Mitchell
                                  JONATHAN F. MITCHELL
                                  Texas Bar No. 24075463
                                  MITCHELL LAW PLLC
                                  111 Congress Avenue, Suite 400
                                  Austin, Texas 78701
                                  (512) 686-3940 (phone)
                                  (512) 686-3941 (fax)
                                  jonathan@mitchell.law

                                  Attorney for Defendant Mark Lee Dickson




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                        KEN PAXTON
                        Attorney General of Texas

                        BRENT WEBSTER
                        First Assistant Attorney General

                        GRANT DORFMAN
                        Deputy First Assistant Attorney General

                        SHAWN E. COWLES
                        Deputy Attorney General for Civil Litigation

                        THOMAS A. ALBRIGHT
                        Chief - General Litigation Division

                        /s/ Benjamin S. Walton
                        BENJAMIN S. WALTON
                        Texas Bar No. 24075241
                        Benjamin.Walton@oag.texas.gov
                        CHRISTOPHER D. HILTON
                        Texas Bar No. 24087727
                        Christopher.Hilton@oag.texas.gov
                        HALIE DANIELS
                        Texas Bar No. 24100169
                        Halie.Daniels@oag.texas.gov
                        Assistant Attorneys General
                        General Litigation Division
                        BETH KLUSMANN
                        Assistant Solicitor General
                        Texas Bar No. 24036918
                        Beth.Klusmann@oag.texas.gov
                        NATALIE THOMPSON
                        Assistant Solicitor General
                        Texas Bar No. 24088529
                        Natalie.Thompson@oag.texas.gov
                        OFFICE OF THE ATTORNEY GENERAL
                        P.O. Box 12548, Capitol Station
                        Austin, Texas 78711-2548
                        (512) 463-2120 – Phone
                        (512) 320-0667 – Fax
                        Counsel for State Defendants




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                       CERTIFICATE OF SERVICE

      I certify that on August 25, 2021, this document was served through the
Court’s CM/ECF Document Filing System upon all counsel of record.


                                /s/ Heather Gebelin Hacker
                                HEATHER GEBELIN HACKER
                                Counsel for Defendant Penny Clarkston




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